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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

CREATIVE IMPACT INC-.;

CREATIVE IMPACT (HONG KONG) LIMITED;

ZURU LLC; and

ZURU INC.,

Plaintiffs,

V.

THE INDIVIDUALS, CORPORATIONS,

LIMITED LIABILITY COMPANIES,

PARTNERSHIPS AND UNINCORPORATED

ASSOCIATIONS IDENTIFIED ON
SCHEDULE A HERETO,

Defendants.

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EASTERN DIVISION

Case No.: 19-cv-3077

Judge Charles R. Norgle

PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL

Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs CREATIVE
IMPACT INC., CREATIVE IMPACT (HONG KONG) LIMITED, ZURU LLC, ZURU INC., hereby

dismiss with prejudice all causes of action in the complaint against the following Defendants identified in

Schedule A. Each party shall bear its own attorney’s fees and costs.

No.

725
752
753
763
764
798
814
816
833
839
848
851

Defendant

Tobevip
Wanghy Fashion
wangjing 198468
wedo_frontier
Wedraffee

xiaogen0525@163.com
yangqin

yangzta

youaimingstore

YuF

zhangh13
Zhaomengzhen Fashion
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The respective Defendants have not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is

appropriate.

Respectfully submitted,

Dated: August 1, 2019 By: — s/Michael A. Hierl
Michael A. Hierl (Bar No. 3128021)
William B. Kalbac (Bar No. 6301771)
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Attorneys for Plaintiffs

CREATIVE IMPACT INC.,

CREATIVE IMPACT (HONG KONG) LIMITED,
ZURU LLC,

ZURU INC.
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CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on August 1, 2019.

s/Michael A. Hierl

 
